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                EXHIBIT
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     Attorneys for Plaintiff
13
                                   UNITED STATES DISTRICT COURT
14                                EASTERN DISTRICT OF CALIFORNIA
15                                       FRESNO DIVISION

16                                          )
     G.P.P., INC. d/b/a GUARDIAN INNOVATIVE )                Case No. 1:15-cv-00321-SKO
17   SOLUTIONS,                             )
                                            )                PLAINTIFF’S SECOND
18
                    Plaintiff,              )                SUPPLEMENTAL RULE 26(a)(1)
19                                          )                INITIAL DISCLOSURES
             v.                             )
20                                          )
     GUARDIAN PROTECTION PRODUCTS, INC. )
21   and RPM WOOD FINISHES GROUP, INC.,     )
                                            )
22
                    Defendants.             )
23                                          )

24          Pursuant to Federal Rule of Civil Procedure 26(a)(1), Plaintiff G.P.P., Inc. d/b/a Guardian

25   Innovative Solutions (“GIS”), by and through its undersigned counsel, hereby provides the

26   following Second Supplemental Initial Disclosures. These disclosures are made without waiver

27   of, or prejudice to, any objections that GIS may have regarding the subject matter of these

28   disclosures or any documents or individuals identified herein.

     PLAINTIFF’S SUPPLEMENTAL
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 1            GIS makes these Initial Disclosures based upon its current knowledge, information, and

 2   belief concerning matters upon which disclosure is required. Such disclosure is based on

 3   information reasonably available to GIS as of the date hereof, which is not necessarily

 4   exhaustive of what may be determined as any supplemental discovery progresses. GIS reserves

 5   the right to further amend or supplement its disclosures pursuant to Federal Rule of Civil

 6   Procedure 26(e).

 7   1)       INDIVIDUALS LIKELY TO HAVE DISCOVERABLE INFORMATION

 8            Based upon information known to GIS as of this date, the following GIS employees are

 9   likely to have discoverable information that GIS may use to support its claims or defenses. Each

10   individual identified below may be contacted only through GIS’s counsel at Wilson Sonsini

11   Goodrich & Rosati:

12
                Name (title)                                 Subject Matter
13
          Charles R. Gibson, Sr.       The parties’ general business relationship and practices;
14                                     negotiation and execution of the various Agreements
          (GIS founder and co-
                                       between the parties; performance of the various Agreements
15        owner)
                                       and Assignments; the Bob’s Discount Furniture Agreement
                                       and Guardian’s breach thereof; termination of the Alabama,
16                                     Florida, and Tennessee Agreements in 2013; Defendant’s
17                                     December 2014 “Distributorship Agreement” offer.

18        Charles R. Gibson, Jr.       The parties’ general business relationship and practices;
                                       performance of the various Agreements and Assignments;
          (GIS co-owner)
19                                     the Bob’s Discount Furniture Agreement and Guardian’s
                                       breach thereof; termination of the Alabama, Florida, and
20                                     Tennessee Agreements in 2013; Defendant’s December
21                                     2014 “Distributorship Agreement” offer; Guardian’s
                                       terminations of the Mid-Atlantic, Cook County, Indiana,
22                                     Midwest, Pennsylvania, Florida (for the second time),
                                       Alabama (for the second time), and Tennessee (for the
23                                     second time) Agreements in 2018 and 2019.
24

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28
     PLAINTIFF’S SUPPLEMENTAL                         -2-
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 1
        Frank Gibson               The parties’ general business relationship and practices;
 2                                 negotiation and execution of the various Agreements
        (GIS co-owner)
                                   between the parties; performance of the various Agreements
 3                                 and Assignments; the Bob’s Discount Furniture Agreement
                                   and Guardian’s breach thereof; termination of the Alabama,
 4                                 Florida, and Tennessee Agreements in 2013; Defendant’s
                                   December 2014 “Distributorship Agreement” offer;
 5
                                   Guardian’s terminations of the Mid-Atlantic, Cook County,
 6                                 Indiana, Midwest, Pennsylvania, Florida (for the second
                                   time), Alabama (for the second time), and Tennessee (for
 7                                 the second time) Agreements in 2018 and 2019.
 8      Debbie Gibson              The parties’ general business relationship and practices;
                                   performance of the various Agreements and Assignments;
 9      (GIS co-owner)
                                   the Bob’s Discount Furniture Agreement and Guardian’s
10                                 breach thereof; termination of the Alabama, Florida, and
                                   Tennessee Agreements in 2013; Defendant’s December
11                                 2014 “Distributorship Agreement” offer; Guardian’s
                                   terminations of the Mid-Atlantic, Cook County, Indiana,
12                                 Midwest, Pennsylvania, Florida (for the second time),
                                   Alabama (for the second time), and Tennessee (for the
13
                                   second time) Agreements in 2018 and 2019.
14
        Chris Nolan                The parties’ general business relationship and practices;
15                                 performance of the various Agreements and Assignments;
        (GIS Executive Vice
                                   the Bob’s Discount Furniture Agreement and Guardian’s
16      President)
                                   breach thereof; termination of the Alabama, Florida, and
                                   Tennessee Agreements in 2013; Defendant’s December
17
                                   2014 “Distributorship Agreement” offer; Guardian’s
18                                 terminations of the Mid-Atlantic, Cook County, Indiana,
                                   Midwest, Pennsylvania, Florida (for the second time),
19                                 Alabama (for the second time), and Tennessee (for the
                                   second time) Agreements in 2018 and 2019.
20
        Kara Himich                The parties’ general business relationship and practices;
21                                 performance of the various Agreements and Assignments;
        (GIS Director of
22                                 the Bob’s Discount Furniture Agreement and Guardian’s
        Operations)
                                   breach thereof; termination of the Alabama, Florida, and
23                                 Tennessee Agreements in 2013; Defendant’s December
                                   2014 “Distributorship Agreement” offer; Guardian’s
24                                 terminations of the Mid-Atlantic, Cook County, Indiana,
                                   Midwest, Pennsylvania, Florida (for the second time),
25
                                   Alabama (for the second time), and Tennessee (for the
26                                 second time) Agreements in 2018 and 2019.

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     PLAINTIFF’S SUPPLEMENTAL                     -3-
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 1          Based upon information known to GIS as of this date, the following is a list of additional

 2   individuals likely to have discoverable information that GIS may use to support its claims or

 3   defenses:

 4
                 Name (title)                                Subject Matter
 5
        Ken Nota                      The parties’ general business relationship and practices; the
 6                                    Bob’s Discount Furniture Agreement and Guardian’s
        (Specialty Products
                                      breach thereof; termination of the Alabama, Florida, and
 7      Holding Corp. current or
                                      Tennessee Agreements in 2013; Defendant’s December
        former Special Counsel
                                      2014 “Distributorship Agreement” offer.
 8      and CCO)

 9      Ronnie Holman                 The parties’ general business relationship and practices;
                                      negotiation and execution of the various Agreements
10      (current or former RPM
                                      between the parties; performance of the various Agreements
        Wood Finishes Group
                                      and Assignments; the Bob’s Discount Furniture Agreement
11      President)
                                      and Guardian’s breach thereof; termination of the Alabama,
12                                    Florida, and Tennessee Agreements in 2013; Defendant’s
                                      December 2014 “Distributorship Agreement” offer;
13                                    Guardian’s terminations of the Mid-Atlantic, Cook County,
                                      Indiana, Midwest, Pennsylvania, Florida (for the second
14                                    time), Alabama (for the second time), and Tennessee (for
15                                    the second time) Agreements in 2018 and 2019.

16      Johnny Green                  The parties’ general business relationship and practices;
                                      performance of the various Agreements and Assignments;
        (Guardian Protection
17                                    the Bob’s Discount Furniture Agreement and Guardian’s
        Products former Vice
                                      breach thereof; termination of the Alabama, Florida, and
18      President & General
                                      Tennessee Agreements in 2013; Defendant’s December
        Manager)
                                      2014 “Distributorship Agreement” offer; Guardian’s
19
                                      terminations of the Mid-Atlantic, Cook County, Indiana,
20                                    Midwest, Pennsylvania, Florida (for the second time),
                                      Alabama (for the second time), and Tennessee (for the
21                                    second time) Agreements in 2018 and 2019.
22      Chris Taylor                  The parties’ general business relationship and practices;
                                      performance of the various Agreements and Assignments;
23      (Guardian Protection
                                      the Bob’s Discount Furniture Agreement and Guardian’s
        Products current or former
24                                    breach thereof; termination of the Alabama, Florida, and
        Vice President of Sales)
                                      Tennessee Agreements in 2013; Defendant’s December
25                                    2014 “Distributorship Agreement” offer; Guardian’s
                                      terminations of the Mid-Atlantic, Cook County, Indiana,
26                                    Midwest, Pennsylvania, Florida (for the second time),
                                      Alabama (for the second time), and Tennessee (for the
27
                                      second time) Agreements in 2018 and 2019.
28
     PLAINTIFF’S SUPPLEMENTAL                         -4-
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 1
          Darin Lease                   Guardian’s calculations and methodology for determining
 2                                      GIS’s quota performance under the various Agreements.
          (Guardian Protection
          Products current or former
 3        programmer analyst)
 4

 5            Other persons whose names appear in documents described in Section 2 below may also
 6   be likely to have discoverable information. GIS anticipates that additional witnesses may be
 7   located or identified during the course of supplemental discovery.
 8   2)       DOCUMENTS GIS MAY USE TO SUPPORT ITS CLAIMS OR DEFENSES
 9            Based upon information known to GIS as of this date, at least the following categories of
10   documents or tangible things in GIS’s possession, custody, or control may be used to support its
11   claims or defenses. These documents are located electronically or in hard copy at GIS’s offices:
12               Agreements involving the parties and/or distribution rights concerning Defendant’s
                  products.
13

14               Communications, drafts, and other records regarding the negotiation, execution,
                  performance, termination, and/or breach of the various Agreements and Assignment
15                Agreements.

16               Communications between GIS and Defendant.
17               Sales and distribution records regarding GIS’s distribution of Defendant’s products.
18
                 Marketing plans and promotional materials used in connection with GIS’s distribution
19                of Defendant’s products.

20               Records regarding payments and commissions owed by and between GIS and
                  Defendant.
21
                 Communications, drafts, and other records regarding Defendant’s proposed new
22                Distributorship Agreement.
23
                 Financial data and sales activities of GIS and Defendant.
24
              GIS’s search for documents that it may use to support its claims or defenses is
25
     continuing. GIS reserves the right to amend and/or supplement the foregoing response with
26
     other categories of documents or tangible things which may be revealed during the course of
27
     supplemental discovery, or alternatively to produce other relevant documents.
28
     PLAINTIFF’S SUPPLEMENTAL                          -5-
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 1   3)     COMPUTATION OF DAMAGES

 2          GIS seeks to recover an award of compensatory damages arising from Guardian’s

 3   breaches of contract and other violations of Guardian’s legal duties as alleged in the

 4   Supplemental Complaint, in an amount according to proof (including but not limited to GIS’s

 5   lost profits, GIS’s lost commissions, amounts due under the Bob’s Agreement, and restitutionary

 6   disgorgement of Guardian’s profits in the exclusive territories that were covered by the

 7   agreements wrongfully terminated by Guardian). GIS also seeks pre-judgment interest on its

 8   damages in an amount to be determined at trial, costs of suit (including but not limited to GIS’s

 9   attorneys’ and experts’ fees), and any other relief as the Court deems just and proper. GIS also

10   seeks a declaration that the Florida, Alabama, Tennessee, Mid-Atlantic, Cook County, Indiana,

11   Midwest, Pennsylvania, and Bob’s Agreements were not properly terminated.

12          GIS calculates its lost profits for Guardian’s wrongful termination of the Florida,

13   Alabama, Tennessee, Mid-Atlantic, Cook County, Indiana, Midwest, and Pennsylvania

14   Agreements in the amount of $56,439,894, less $2,291,806 in avoided costs, for net lost profits

15   of $54,148,088. GIS calculates its lost commissions for Guardian’s breach of the Bob’s

16   Agreement in the amount of $933,275. The methodology for these calculations is set forth in the

17   Supplemental Expert Report of Peter D. Wrobel dated and served January 5, 2021. GIS’s

18   restitutionary damages are in the amount of Guardian’s post-termination revenues minus costs in

19   each exclusive territory.
20          GIS reserves its right to amend and/or supplement the foregoing response and to seek
21   such other relief as is deemed appropriate.

22   4)     INSURANCE AGREEMENTS

23          GIS is not presently aware of any insurance agreement applicable to this litigation.

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     PLAINTIFF’S SUPPLEMENTAL                          -6-
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12
                                                Attorneys for Plaintiff
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